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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF FLORIDA
                          GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

             Plaintiff,

v.                                             CASE NO.: 1:07-CR-021-SPM

LUIS MATA-MORENO,

             Defendant.

________________________________/

           ORDER GRANTING MOTION TO CONTINUE SENTENCING

      THIS CAUSE comes before the Court on the Defendant’s "Motion to

Continue Sentencing” (doc. 160). As grounds, Defendant states the need for

more time to finalize his substantial assistance to the Government. The

Government does not oppose the granting of this motion.

      It is hereby ORDERED AND ADJUDGED as follows:

      1.     Defendant’s motion to continue (doc. 160) is granted.

      2.     Defendant’s sentencing is reset for Monday, April 28, 2008 at 1:30

             p.m.

      DONE AND ORDERED this fourth day of April, 2008.



                                    s/ Stephan P. Mickle
                                 Stephan P. Mickle
                                 United States District Judge
